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                 In the United States Court of Federal Claims
                                    OFFICE OF SPECIAL MASTERS
                                          Filed: April 8, 2019

* * * * * * *                   *   *    *    *   *    *
IRVING KODIMER,                                        *                 UNPUBLISHED
                                                       *
                  Petitioner,                          *                 No. 17-140V
                                                       *
v.                                                     *                 Special Master Gowen
                                                       *
SECRETARY OF HEALTH                                    *                 Influenza; Pneumococcal
AND HUMAN SERVICES,                                    *                 Conjugate; Stipulation
                                                       *                 for Award.
                  Respondent.                          *
*    * *     *    * * * *           *    *    *   *    *

Amy A. Senerth, Muller Brazil, LLP, Dresher, PA, for petitioner.
Lara A. Englund, United States Department of Justice, Washington, DC, for respondent.

                                      DECISION ON STIPULATION1

        On January 30, 2017, Irving Kodimer (“petitioner”) filed a petition for compensation
under the National Vaccine Injury Compensation Program.2 Petition (ECF No. 1). Petitioner
received influenza (“flu”) and pneumococcal conjugate vaccinations on October 19, 2015. Id. at
Preamble; Stipulation filed April 5, 2019 (ECF No. 54) at ¶ 2. Petitioner alleged that as a result
of receiving those vaccinations, he sustained bilateral shoulder injuries. Petition at ¶ 5;
Stipulation at ¶ 4.

       On April 5, 2019, respondent filed a stipulation providing that a decision should be
entered awarding compensation to petitioner. Stipulation. Respondent denies that petitioner’s
alleged bilateral shoulder injuries and/or any other injury was caused by the flu and/or

1
  Pursuant to the E-Government Act of 2002, see 44 U.S.C. § 3501 note (2012), because this opinion contains a
reasoned explanation for the action in this case, I am required to post it on the website of the United States Court of
Federal Claims. The court’s website is at http://www.uscfc.uscourts.gov/aggregator/sources/7. This means the
opinion will be available to anyone with access to the Internet. Before the opinion is posted on the court’s
website, each party has 14 days to file a motion requesting redaction “of any information furnished by that party:
(1) that is a trade secret or commercial or financial in substance and is privileged or confidential; or (2) that
includes medical files or similar files, the disclosure of which would constitute a clearly unwarranted invasion of
privacy.” Vaccine Rule 18(b). “An objecting party must provide the court with a proposed redacted version of the
decision.” Id. If neither party files a motion for redaction within 14 days, the opinion will be posted on the
court’s website without any changes. Id.
2
 The National Vaccine Injury Compensation Program is set forth in Part 2 of the National Childhood Vaccine
Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755, codified as amended, 42 U.S.C. §§ 300aa-1 to -34 (2012)
(Vaccine Act or the Act). All citations in this decision to individual sections of the Vaccine Act are to 42 U.S.C.A. §
300aa.
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pneumococcal conjugate vaccinations. Id. at ¶ 6. Maintaining their respective positions, the
parties nevertheless now agree that the issues between them shall be settled and that a decision
should be entered awarding compensation to petitioner according to the terms of the stipulation
attached hereto as Appendix A. Id. at ¶ 7.

        The stipulation awards a lump sum of $26,256.00 in the form of a check payable to
petitioner. This amount represents all damages that would be available under 42 U.S.C. §
300aa-15(a).

      I find the stipulation reasonable and I adopt it as the decision of the Court in awarding
damages, on the terms set forth therein. Accordingly, the Clerk of the Court SHALL ENTER
JUDGMENT in accordance with the terms of the parties’ stipulation.3

        IT IS SO ORDERED.
                                                                       s/Thomas L. Gowen
                                                                       Thomas L. Gowen
                                                                       Special Master




3
 Entry of judgment is expedited by each party’s filing notice renouncing the right to seek review. Vaccine Rule
11(a).
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